                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                           Case No. 21-04788-RLM-13

 Steven Mark Petry                                Chapter 13

 Debtor.                                          Judge Robyn L. Moberly

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of U.S. Bank

Trust National Association, as Trustee of the Igloo Series IV Trust, in the above captioned

proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
                                CERTIFICATE OF SERVICE

I certify that on March 3, 2022, a copy of the foregoing Notice was filed electronically. Notice of
this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       Mark S. Zuckerberg, Debtor’s Counsel
       filings@mszlaw.com

       Ann m. DeLaney, Trustee
       ecfdelaney@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on March 3, 2022, a copy of the foregoing Notice was mailed by first-class
U.S. Mail, postage prepaid and properly addressed to the following:

       Steven Mark Petry, Debtor
       1638 Wellesley Court
       Indianapolis, IN 46219

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
